
MURPHY, Judge.
Respondent-father ("Respondent") appeals from orders terminating his parental rights. Respondent's appellate counsel filed a no-merit brief pursuant to Rule 3.1(d) stating that, after a conscientious and thorough review of the record on appeal, he has concluded that the record contains no issue of merit on which to base an argument for relief. N.C. R. App. P. 3.1(d) (2019). Appellate counsel provided Respondent with copies of the no-merit brief, trial transcript, and record on appeal and advised him of his right to file a brief pro se with this Court; however, Respondent did not exercise his right to file a pro se brief. Accordingly, no issues have been argued or preserved in accordance with the Rules of Appellate Procedure. In re L.V. , --- N.C. App. ----, ----, 814 S.E.2d 928, 929 (2018) ; In re I.B. , --- N.C. App. ----, ----, 822 S.E.2d 472, 477 (2018) (detailing "settled rules of interpretation [that] support a conclusion that we are not required to conduct an independent review of the record under the text of Rule 3.1(d) as it is written").
DISMISSED.
Report per Rule 30(e).
Judge HUNTER, JR. concurs.
Chief Judge McGEE dissents in a separate opinion.
